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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                     CASE NO. 13CR4038-AJB
12                                           Plaintiff,             JUDGMENT AND ORDER OF
              vs.                                                   DISMISSAL OF INFORMATION
13
      SARITA BENITES FERRERIO(2),
14
15                                        Defendant.

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            Upon motion of the UNITED STATES OF AMERICA and good cause appearing, the
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     Information in the above entitled case is dismissed with prejudice, the bond is exonerated and, if held
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     by U.S. Pretrial Services, Defendant’s passport is to be released to Defendant.
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            IT IS SO ORDERED.
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            Dated: 10/22/2014                    .
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                                                                ____________________________________
23                                                              HONORABLE BARBARA L. MAJOR
                                                                United States Magistrate Judge
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